TiMFse 5:23-EYR90802

12/05/2022
11:19 AM

12/04/2022
9:46 PM

10/31/2022
2:34 PM

10/31/2022
2:34 PM

10/28/2022
5:49 PM

10/28/2022
9:40 AM

10/28/2022
9:40 AM

10/28/2022
7:02 AM

10/27/2022
4:35 PM

10/27/2022
4:30 PM

10/27/2022
4:30 PM

10/26/2022
7:02 AM

10/25/2022
7:02 AM

10/24/2022
12:18 PM

10/24/2022
12:15 PM

10/24/2022
12:14 PM

10/24/2022
12:14 PM

10/21/2022
7:04 AM

10/21/2022
7:03 AM

10/21/2022
7:03 AM

text

text

Email Sent

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Hcument 172-1

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DetAlt] 04/28/25 Page 1 of 1 PagelD #: 5184

Please respond directly to this message with the photos!
Ihave some photos I'm not sure how or where to send them

Please contact TERRY VANOVER with other means to obtain an estim
ate. The customer has not submitted photos of their vehicle's damag
e. IF TERRY VANOVER decides to continue with a virtual appraisal plea
se reply to this email and we can re-engage with the customer.

This is a reminder from the Appraisal Team to submit photos of your
vehicle today so that we can complete your estimate as soon as
possible. Thanks!

Ishould be home next week ok

VO in the hospital willsend photos when they're discharged. Setting
follow up.

Thank you for the update. We look forward to receiving your photos
when you've recovered and you're able to send them. Thank you!

Hi! State Farm appraisal team here. Please remember to submit your
vehicle photos as soon as possible. You can reply to this message
with the photos.

I'm so sorry but I'm in the hospital right now as soon as I get home I'll
get this done ok sorry

Appraisal Team here! Please reply with a photo of your VIN, Model #,
Odometer (if applicable), 4 Corners, and photos documenting all
damage.Thanks!

OBC 3047198685 LVM w/CB# and Claim# to obtain photos

Hi! State Farm appraisal team here. Please remember to submit your
vehicle photos as soon as possible. You can reply to this message
with the photos.

Hi! State Farm appraisal team here. Please remember to submit your
vehicle photos as soon as possible. You can reply to this message
with the photos.

OBC 3046828685 SW Terry RV is located at home MOI text unsure of
time frame Cust will submit photos via text no SOC f/U with cust in a
couple of days she needs to find someone to take the photos

OBC 3047198685 LVM w/CB# and Claim# to obtain photos

If you have any questions, please respond to this message or call us
back at 309-423-3410.

Appraisal Team here! Please reply with a photo of your VIN, Model #,
Odometer (if applicable), 4 Corners, and photos documenting all
damage.Thanks!

Left a V/M 3047198685
Please send your photos 2-3 at a time. Thanks!

Appraisal Team here! Please reply with a photo of your VIN, Model #,
Odometer (if applicable), 4 Corners, and photos documenting all
damage.Thanks!

SNAPSHEET-000089
